      Case 1:23-cv-00004-DMT-CRH Document 20 Filed 01/30/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA




State of North Dakota,

                                      Plaintiff,

vs.

The United States Department of Interior;
Debra Ann Haaland, in her official capacity
as Secretary of Interior; The Bureau of Land
Management; Nada Culver, in her official
capacity as the Director of the Bureau of Land
Management; and John Mehlhoff, in his                   Case No. 1:21-cv-00148
official capacity as the Director of the
Montana-Dakotas Bureau of Land
Management,

                                   Defendants,

and

Center for Biological Diversity; Sierra Club;
Western Organization of Resource Councils;
and Dakota Resource Council,

                         Intervenor-Defendants.




                                                -1-
       Case 1:23-cv-00004-DMT-CRH Document 20 Filed 01/30/23 Page 2 of 3




 State of North Dakota,

                                         Plaintiff,

 vs.

 The United States Department of Interior;
 Debra Ann Haaland, in her official capacity
 as Secretary of Interior; The Bureau of Land
 Management; Tracy Stone Manning, in her
 official capacity as the Director of the Bureau
 of Land Management; and Sonya Germann, in                                 Case No. 1:23-cv-00004
 her official capacity as the Director of the
 Montana-Dakotas Bureau of Land
 Management,

 Defendants.


                             ORDER TO CONSOLIDATE CASES


[¶1]   THIS MATTER comes before the Court after the Court ordered the Parties to show cause

why the above-captioned cases should not be consolidated. North Dakota has agreed the two cases

should be consolidated. The United States does not oppose consolidation, “provided that the Court

dismiss duplicative claims concerning an alleged moratorium and Q1-2 2021 leasing decisions,

preclude Plaintiff from relitigating procedural disputes decided in the first litigation, and take into

account the preliminary posture of the second action.” Case No. 1:21-cv-00148, Doc. No 66, p. 6.

The Intervenor-Defendants in Case Number 1:21-cv-00148 do not oppose consolidation, but

request to be considered intervenors in both cases. Neither the of the other Parties have objected

to the Intervenor-Defendants’ request.




                                                 -2-
       Case 1:23-cv-00004-DMT-CRH Document 20 Filed 01/30/23 Page 3 of 3




[¶2]   The Court has considered the record in these matters and concludes consolidation is

appropriate. The Court, therefore, ORDERS the following:

   1. The above-captioned cases shall be CONSOLIDATED;

   2. Case Number 1:21-cv-00148 is designated as the lead case;

   3. All future filings shall only be filed in the lead case (Case Number 1:21-cv-00148);

   4. The Caption of all future filings shall include the lead Case Number, 1:21-cv-00148; and

   5. The Intervenor-Defendants, Center for Biological Diversity, Sierra Club, Western
      Organization of Resource Councils, and Dakota Resource Council, are considered to have
      intervened in both 1:21-cv-00148 and 1:23-cv-00004. Intervenor-Defendant’s Response to
      the Motion for Preliminary Injunction due February 9, 2023.

The Clerk of Court is directed to refile Docket Entries 9 (Motion for Preliminary Injunction), 10

(Memorandum in Support of Motion for Preliminary Injunction), and 11 (Motion for Hearing)

from Case Number 1:23-cv-00004 in the lead case.

[¶3]   As to the United States’ request to dismiss duplicative claims, preclude relitigating

procedural disputes already decided, and to consider the preliminary posture of the second action,

the Court declines to decide these issues at this time. The Parties are directed to coordinate a

consolidated discovery plan with the Magistrate Judge, including motion deadlines in which the

Court can properly decide any dispositive or other issue presented by the Parties.

[¶4]   IT IS SO ORDERED.

       DATED January 30, 2023.


                                                     Daniel M. Traynor, District Judge
                                                     United States District Court




                                               -3-
